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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

NATIONAL RIFLE ASSOCIATION                          )
OF AMERICA,                                         )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  )       Civil Action No. 1:18cv542
                                                    )       AJT/TCB
LOCKTON AFFINITY SERIES OF LOCKTON                  )
AFFINITY, LLC, et al.                               )
                                                    )
               Defendants.                          )
                                                    )


                             RULE 41 NOTICE OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiff National Rifle

Association of America requests dismissal of this matter without prejudice. Defendants Lockton

Affinity Series of Lockton Affinity, LLC (f/k/a Lockton Risk Services, Inc.) and Kansas City Series

of Lockton Companies, LLC have not filed an answer or a motion for summary judgment.

Dated: May 29, 2018                          Respectfully submitted,


                                                    /s/ Robert H. Cox
                                             James W. Hundley (VA Bar No. 30723)
                                             Robert H. Cox (VA Bar No. 33118)
                                             Amy L. Bradley (VA Bar No. 80155)
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                                               William A. Brewer III (application for admission
                                               Pro Hac Vice to be filed)
                                               Michael L. Smith (application for admission Pro
                                               Hac Vice to be filed)
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                                               ATTORNEYS FOR THE NATIONAL RIFLE
                                               ASSOCIATION OF AMERICA


                                CERTIFICATE OF SERVICE

       I hereby certify that on May 29, 2018, I served the foregoing via first-class mail, postage
prepaid, to the following:

Lockton Affinity Series of Lockton, LLC
c/o Corporate Creations Network, Inc., R. A.
56802 Paragon Place, #410
Richmond, Virginia 23230

Kansas City Series of Lockton Companies, LLC
444 W. 47th Street, Suite 900
Kansas City, Missouri 64112


                                                      /s/ Robert H. Cox
                                               James W. Hundley (VA Bar No. 30723)
                                               Robert H. Cox (VA Bar No. 33118)
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